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Case: 1:21-cv-04433 Document #: 1 Filed: 08/19/21 Page 1 of 12 PageID #:1


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                                                Magistrate Judge Sunil R. Harjani
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Case: 1:21-cv-04433 Document #: 1 Filed: 08/19/21 Page 2 of 12 PageID #:2
Case: 1:21-cv-04433 Document #: 1 Filed: 08/19/21 Page 3 of 12 PageID #:3
Case: 1:21-cv-04433 Document #: 1 Filed: 08/19/21 Page 4 of 12 PageID #:4
Case: 1:21-cv-04433 Document #: 1 Filed: 08/19/21 Page 5 of 12 PageID #:5
Case: 1:21-cv-04433 Document #: 1 Filed: 08/19/21 Page 6 of 12 PageID #:6
Case: 1:21-cv-04433 Document #: 1 Filed: 08/19/21 Page 7 of 12 PageID #:7
Case: 1:21-cv-04433 Document #: 1 Filed: 08/19/21 Page 8 of 12 PageID #:8
Case: 1:21-cv-04433 Document #: 1 Filed: 08/19/21 Page 9 of 12 PageID #:9
Case: 1:21-cv-04433 Document #: 1 Filed: 08/19/21 Page 10 of 12 PageID #:10
Case: 1:21-cv-04433 Document #: 1 Filed: 08/19/21 Page 11 of 12 PageID #:11
Case: 1:21-cv-04433 Document #: 1 Filed: 08/19/21 Page 12 of 12 PageID #:12
